                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

JEFFREY ORENSTEIN, on behalf of                  §
himself and all others similarly situated,       §
                Plaintiff                        §
                                                 §               Case No. 1:23-cv-00391-SH
v.                                               §
                                                 §
SPRUCE SERVICES, INC.,                           §
          Defendant

                                      FINAL JUDGMENT

        Before the Court is the parties’ Joint Stipulation of Dismissal with Prejudice, filed

September 17, 2024 (Dkt. 38). The parties stipulate to the dismissal of this matter with prejudice,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

        Accordingly, the Court DISMISSES WITH PREJUDICE all claims asserted in this case,

with each party to bear their own costs, expenses, and attorneys’ fees.

        IT IS FURTHER ORDERED that all settings are CANCELED and that the Clerk of

Court CLOSE this case.

     SIGNED on September 18, 2024.


                                                 SUSAN HIGHTOWER
                                                 UNITED STATES MAGISTRATE JUDGE
